    Case 4:21-cv-02571         Document 9       Filed on 01/11/22 in TXSD         Page 1 of 2

                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION
 ______________________________________
                                             :
 Patricia Doran,                             :
                                             :
                                             :
                      Plaintiff,             : Civil Action No.: 4:21-cv-0257 1
         v.                                  :
                                             :
 Deutsche Bank National Trust Company, as    :
 Trustee for FFMLT Trust 2005-FF8, Mortgage :
 Pass-Through Certificates, Series 2005-FF8, :
                                             :
                      Defendant.             :
 ______________________________________
                              STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed in its entirety without costs to any party. The Plaintiff’s claims are dismissed

with prejudice. Defendant’s counterclaim is dismissed with prejudice. Each party shall bear their

own costs and fees.


                                              Respectfully submitted,


                                              HUGHES WATTERS ASKANASE, LLP


                                              By: /s/ Damian W. Abreo
                                                    Damian W. Abreo
                                                    Texas Bar No. 24006728
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                                              ATTORNEY FOR DEENDANT, DEUTSCHE
                                              BANK NATIONAL TRUST COMPANY, AS
                                              TRUSTEE FOR FFMLT TRUST 2005-FF8,
                                              MORTGAGE PASS-THROUGH
                                              CERTIFICATES, SERIES 2005-FF8
    Case 4:21-cv-02571        Document 9       Filed on 01/11/22 in TXSD        Page 2 of 2




                                             By:     /s/ James Minerve
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                                             ATTORNEY FOR PLAINTIFF, PATRICIA
                                             DORAN



                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Stipulation of Dismissal was forwarded to all parties
and/or their attorneys of record, in accordance with the Federal Rules of Civil Procedure, on this
the 11th day of January, 2022, addressed as follows:

Via Efile and Email: jgm@minervelaw.com
James Minerve
13276 N. HWY 183, Ste. 209
Austin, Texas 78750
ATTORNEY FOR PLAINTIFF,
PATRICIA DORAN


                                             /s/ Damian W. Abreo
                                             Damian W. Abreo




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